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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 FASTVDO LLC,                                      )
                                                   )
                       Plaintiff,                  )
                                                   )
                v.                                 ) C.A. No. 12-01429-RGA
                                                   )
 TECHNICOLOR INC., TECHNICOLOR                     )
 USA, INC., and TECHNICOLOR                        )
 CREATIVE SERVICES USA, INC.,                      )
                                                   )
~~~~~~~~~~~~~~~~
                        Defendants.                )

                                      P!<tW&SED ORDER


        Plaintiff, FastVDO LLC and Defendants Technicolor, Inc., Technicolor USA, Inc., and

 Technicolor Creative Services USA, Inc. (together, the "Parties") announced to the Court that

 they have settled their claims and counterclaims for relief asserted in this case and request

 dismissal of the case as among them. The Court, having considered this request, is of the

 opinion that the Parties' request for dismissal should be GRANTED.

        IT IS THEREFORE ORDERED that all claims and counterclaims between the Parties

 made in this case are dismissed with prejudice.

        IT IS FURTHER ORDERED that all attorneys' fees, costs of court and expenses shall
